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 1                   UNITED STATES DISTRICT COURT
 2                 SOUTHERN DISTRICT OF NEW YORK
 3
 4   SECURITIES AND EXCHANGE         )
     COMMISSION,                     )
 5                                   )
                         Plaintiff, )
 6                                   ) 19 Civ. 9439 (PKC)
           - against -               )
 7                                   )
     TELEGRAM GROUP INC. and         )
 8   TON ISSUER INC.,                )
                                     )
 9                       Defendants. )
     ________________________________)
10
11         **CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER**
12
13                 Videotaped deposition of PAVEL DUROV (as
14   30(b)(6) corporate representative of Defendants and
15   also in his personal capacity), Volume 1, taken on
16   behalf of Plaintiff at Hadef & Partners, LLC, Emaar
17   Square, Building 3, Level 5, Downtown Dubai, Dubai,
18   United Arab Emirates, beginning at 11:21 a.m. and
19   ending at 9:54 p.m., on Tuesday, January 7, 2020,
20   before LEAH WILLERSDORF, Member of the British
21   Institute of Verbatim Reporters, Accredited Verbatim
22   Reporter, Qualified Realtime Reporter - Level 2,
23   International Participating Member NCRA.
24
25   JOB No. 200107LWI
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11:35:26   1                  MR. TENREIRO:       I'm just asking about --
11:35:28   2   I'm not sure it relates to any topic.             I'm just
11:35:31   3   asking about the --
11:35:31   4                  MR. DRYLEWSKI:       Okay.    Objection, based on
11:35:34   5   scope.
11:35:34   6                  You can answer that question in your
11:35:36   7   personal capacity.        And I'd instruct the witness
11:35:38   8   to exclude from the answer the substance of any
11:35:41   9   conversations with counsel.
11:35:42 10                   THE WITNESS:      Sure.      So, as you know,
11:35:59 11    Telegram, until yesterday, didn't comment on its work
11:36:07 12    related to TON, and the reason why we did not comment
11:36:15 13    is we didn't want our users and consumers in general
11:36:25 14    to have any expectations in relation to TON; however,
11:36:31 15    it came to our attention that due to this vacuum, or
11:36:41 16    the perceived vacuum of announcements from our team,
11:36:45 17    some users were being scammed by certain third
11:36:53 18    parties, and while we warned our users against --
11:37:01 19    about those scams on numerous occasions before, we
11:37:04 20    decided that it is worth posting a more extensive
11:37:09 21    piece explaining to the users the current status of
11:37:18 22    TON and Grams so that they wouldn't be misled by bad
11:37:24 23    actors trying to trick them into, you know, buying
11:37:30 24    something that is not related to what we are trying to
11:37:32 25    build.
                                                                                  23

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17:46:37   1   private placement?
17:46:37   2            A.     I don't think we reached out to the SEC
17:46:40   3   before I signed the first purchase agreement.                  The way
17:46:44   4   we designed it is, the private placement, was that we
17:46:59   5   reserved a lot of flexibility to how the project and
17:47:10   6   its parts could look like, and this flexibility is
17:47:17   7   reflected in the purchase agreements and its
17:47:20   8   appendices.
17:47:36   9                   That gave us a comfort of knowing that
17:47:44 10    we would be able to change certain, if not all,
17:47:49 11    aspects of what we're trying to build based on the
17:47:59 12    feedback that we could receive from the regulators,
17:48:04 13    including the SEC, in the following months.
17:48:08 14             Q.     So is it fair to say the answer to my
17:48:10 15    question is no, you do not?
17:48:13 16             A.     No; that was the first sentence,
17:48:17 17    I believe.
17:48:17 18             Q.     Okay.     Now, in terms of the remainder of
17:48:21 19    your answer and the flexibility, is it fair to say
17:48:24 20    that you today still retain that flexibility to
17:48:46 21    change ...
17:48:48 22                    Right.     Is it fair to say that -- so you
17:48:48 23    said the way you designed it was that you had
17:48:52 24    flexibility to change some features of the project.
17:49:03 25    Is it fair to say that you, to this day, retain that
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17:49:06   1   flexibility to change features of how a project might
17:49:11   2   look like in the future?
17:49:12   3             A.     That's correct.
17:49:12   4             Q.     I mean, just as one example, I think at
17:49:15   5   some point originally there was at least the idea
17:49:17   6   conveyed to investors that TON Wallet might be
17:49:23   7   integrated into Messenger, but in Exhibit 38, which we
17:49:27   8   began the morning with, which was the statement that
17:49:29   9   you posted yesterday, there is a statement that TON
17:49:35 10    Wallet will no longer be integrated into Messenger;
17:49:38 11    is that correct?
17:49:38 12                     MR. DRYLEWSKI:     Objection to form.
17:49:40 13    Objection to the characterization of the document.
17:49:45 14                     THE WITNESS:     I believe in that
17:49:46 15    announcement we made clear that the Wallet would not
17:49:51 16    be integrated into the Messenger applications at
17:49:55 17    launch.
17:49:56 18    BY MR. TENREIRO:
17:49:56 19              Q.     Right.
17:50:05 20              A.     And we reserved the right to do that
17:50:08 21    later, subject to regulatory approval.
17:50:10 22              Q.     Right.   Thank you.     Thanks for clarifying.
17:50:13 23                     "Telegram may integrate the TON Wallet
17:50:15 24    application with the Telegram Messenger service in the
17:50:17 25    future, to the extent permitted under applicable law
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17:50:20   1   and governmental authorities."
17:50:22   2                   I just read that from Exhibit 38.
17:50:25   3            A.     Yeah.
17:50:25   4            Q.     Is that what you were referring to?
17:50:27   5            A.     Correct.
17:50:27   6            Q.     Okay.     So that's one example of where you
17:50:30   7   retained flexibility, and retain flexibility today,
17:50:33   8   in terms of how you structure the TON Blockchain and
17:50:37   9   surrounding ecosystem?         Is that one example?
17:50:41 10             A.     That's one example.       The other, I think,
17:50:54 11    even more relevant example is when we received
17:50:56 12    feedback from the SEC in relation to the contemplated
17:51:10 13    Gram-buying function of the TON Foundation that may be
17:51:17 14    established in the future, and we understood that the
17:51:27 15    SEC was concerned with that function, and although we
17:51:40 16    might not fully -- might not have fully understood or
17:51:48 17    agreed with that view, we instantly changed our plans,
17:52:09 18    and at a certain point in time later informed all the
17:52:13 19    private placement purchasers about this change.
17:52:16 20             Q.     Thank you.     And is another example of
17:52:19 21    where you have some flexibility the existence of or
17:52:24 22    the parameters for functioning of the TON Foundation?
17:52:27 23    Is that another example?
17:52:29 24             A.     Yes.     I believe that flexibility is
17:52:34 25    allowed for in the risk factors of appendix to the
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17:54:53   1   the TON Foundation cannot serve as a validator on the

17:55:05   2   TON Blockchain; is that correct?

17:55:16   3             A.




           I

17:56:06   8             Q.    I just want to make sure I have a clear

17:56:09   9   record.

17:56:09 10                     MR. DRYLEWSKI:     Yeah.

17:56:09 11    BY MR. TENREIRO:

17:56:10 12              Q.    So you believe you have a plan to allow

17:56:12 13    the TON Foundation to act as a validator?

17:56:14 14              A.    No.

17:56:15 15             Q.     Oh, okay.

17:56:16 16                    MR. DRYLEWSKI:      Yeah.   So "could," I think

17:56:16 17    it was "could not."

17:56:18 18                    MR. TENREIRO:     Okay.

17:56:18 19                    THE WITNESS:     Sorry.

17:56:19 20                    MR. TENREIRO:      Yeah.

17:56:19 21                    THE WITNESS:     Could not.

17:56:19 22                    MR. TENREIRO:     Okay.

17:56:20 23    BY MR. TENREIRO:

17:56:23 24             Q.     Okay.     So my followup question is,

17:56:26 25    is there flexibility, from your perspective, on that

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17:56:28   1   point as well, such that you could at some point later

17:56:33   2   in the future change your mind and permit the TON

17:56:35   3   Reserve to act as one of many validators on the TON

17:56:56   4   Blockchain?

17:56:56   5            A.     No, we never wanted to retain that

17:57:00   6   flexibility.      It was our -- it has been our plan

17:57:10   7   to disallow that kind of use of Grams by the TON

17:57:18   8   Foundation in order to make sure that the public

17:57:31   9   perception of the network is in line with expectations

17:57:54 10    people would reasonably have from a decentralized

17:58:00 11    network.

17:58:00 12             Q.    Okay.     We can set that document aside,

17:58:07 13    which is Exhibit 50.

17:58:08 14                    You were talking about banking

17:58:10 15    relationships and I believe that -- is it fair to say

17:58:13 16    that during the term of the private placement, your

17:58:16 17    primary banking relationship --



17:58:22 19                    MR. DRYLEWSKI:     Objection, I think to

17:58:24 20    scope.

17:58:25 21                   Is that in one of the topics?

17:58:26 22                   MR. TENREIRO:      It's the Use of Funds

17:58:29 23    topic.

17:58:32 24                   MR. DRYLEWSKI:      Use of Funds topic, okay.

17:58:45 25                    THE WITNESS:     Yes, I think you could say

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20:08:36   1   completely or because the purchaser suddenly decided
20:08:42   2   to change their plans and, given the situation --
20:09:17   3   I'm sorry.      So as a result of the situation
20:09:21   4   surrounding this specific investor, decided to
20:09:27   5   decrease the number of Grams that they would subscribe
20:09:30   6   for in the purchase agreements.
20:09:34   7                   So those agreements had to be canceled in
20:09:36   8   order to have new agreements signed reflecting the
20:09:42   9   updated number of Grams and amounts in US dollars or
20:09:57 10    euro.
20:09:58 11             Q.     So tens of purchase agreements is your
20:10:01 12    kind of estimate?
20:10:01 13             A.     That's my estimate.
20:10:03 14             Q.     Okay.     And in terms of these funds --
20:10:06 15    I'll go on a break after this.
20:10:08 16                    MR. DRYLEWSKI:      Thank you.
20:10:08 17    BY MR. TENREIRO:
20:10:09 18             Q.     I'm sorry, did you want to say something
20:10:12 19    else?
20:10:13 20             A.     Just to clarify, that by tens of
20:10:23 21    agreements, I don't mean investors, I don't mean
20:10:26 22    purchasers; I mean separate purchase agreements --
20:10:31 23             Q.     Sure.
20:10:32 24             A.     -- and one purchaser may have entered into
20:10:36 25    multiple purchase agreements.
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 1                   UNITED STATES DISTRICT COURT
 2                  SOUTHERN DISTRICT OF NEW YORK
 3
 4   SECURITIES AND EXCHANGE          )
     COMMISSION,                      )
 5                                    )
                         Plaintiff,   )
 6                                    ) 19 Civ. 9439 (PKC)
           - against -                )
 7                                    )
     TELEGRAM GROUP INC. and          )
 8   TON ISSUER INC.,                 )
                                      )
 9                       Defendants. )
     _________________________________)
10
11         **CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER**
12
13                  Videotaped deposition of PAVEL DUROV (as
14   30(b)(6) corporate representative of Defendants and
15   also in his personal capacity), Volume 2, taken on
16   behalf of Plaintiff at Hadef & Partners, LLC, Emaar
17   Square, Building 3, Level 5, Downtown Dubai, Dubai,
18   United Arab Emirates, beginning at 10:23 a.m. and
19   ending at 6:09 p.m., on Wednesday, January 8, 2020,
20   before LEAH WILLERSDORF, Member of the British
21   Institute of Verbatim Reporters, Accredited Verbatim
22   Reporter, Qualified Realtime Reporter - Level 2,
23   International Participating Member NCRA.
24
25   JOB No. 200108LWI
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10:25:37   1            Q.    Okay.    So with respect to the 1.3 billion

10:25:40   2   that is left from the private placement, sitting here

10:25:43   3   today, what are Telegram's plans for those funds,

10:25:46   4   the use of those funds?

10:25:57   5            A.    Would you mind specifying the period of

10:25:59   6   time for ...

10:26:00   7            Q.    Let's say for the next year.

10:26:19   8            A.    My expectation is that we will continue

10:26:26   9   to spend funds in a manner similar to which took place

10:26:39 10    last year or this year -- or, yeah, last year and the

10:26:43 11    beginning of this year.         So we don't anticipate big

10:26:51 12    changes up until the launch of TON when we expect that

10:27:07 13    certain expenses might go down due to the fact that we

10:27:10 14    will no longer be spending resources on developing and

10:27:18 15    testing TON.

10:27:19 16             Q.    So is it your expectation that after the

10:27:21 17    launch of the blockchain, Telegram will spend no funds

10:27:25 18    at all on TON or the blockchain?

10:27:36 19             A.




10:28:01 22             Q.    So is it -- is the testing of the

10:28:05 23    TON Blockchain complete as of today, or do you expect

10:28:09 24    it will be complete by the launch?            What's the status

10:28:12 25    of the testing?

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10:28:16    1                   MR. DRYLEWSKI:     Objection to form.
10:28:18    2                   Do you mean Telegram's testing?          Because
10:28:20    3   there's also a testnet, I just want to be clear.
10:28:25    4                   MR. TENREIRO:     Telegram's testing,
10:28:27    5   mmm-hmm.
10:28:28    6                   MR. DRYLEWSKI:     Okay.
10:28:29    7                   Objection to form.      Objection to
10:28:34    8   foundation.
10:28:57    9                   THE WITNESS:     We consider the testing of
10:29:06 10     the core components of the TON network to be complete;
10:29:21 11     however, certain additional functionality of TON, that
10:29:35 12     would be nice to have, but that would not be necessary
10:29:42 13     for the launch.      It's still required and that is the
10:29:57 14     kind of testing that we are focused on right now.
10:30:04 15     BY MR. TENREIRO:
10:30:04 16              Q.     So let me take it in steps.         Some of the
10:30:06 17     functionality that would be nice to have but not
10:30:08 18     required, can you be more specific about what you
10:30:11 19     mean, what functionalities?
10:30:14 20                     MR. DRYLEWSKI:     And just for the record,
10:30:15 21     about which topic are we in right now?
10:30:18 22                     MR. TENREIRO:     I think this is -- hold on
10:30:20 23     a second.
10:30:31 24                     MR. DRYLEWSKI:     I'll answer my own
10:30:33 25     question.     Is it 13?
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10:47:09    1   voted on or -- under the protocols and procedures of
10:47:13    2   the TON Blockchain?       Is that one of the things that,
10:47:15    3   in theory, the TON Foundation could do if it ever
10:47:18    4   existed?
10:48:11    5            A.     Since the TON Foundation, as contemplated
10:48:27    6   at a certain point in time in the past, was modeled
10:48:35    7   after the Ethereum foundation and the Bitcoin
10:48:41    8   foundation, foundations relevant to the similar but
10:48:52    9   older and less, we believe, efficient networks, one of
10:49:02 10     its planned functions that we discussed was to be
10:49:20 11     able to, based on the input from the blockchain
10:49:26 12     community and relevant experts, put forward proposals
10:49:47 13     in relation to the future of TON Blockchain in the
10:49:59 14     same way as any other organization or group of people,
10:50:17 15     if they would like so, will be able to put forward
10:50:24 16     proposals in relation to the future of TON Blockchain.
10:50:39 17     Those proposals, though, would not, and will not,
10:50:51 18     be able to affect any property or functionality in the
10:51:03 19     TON Blockchain, or change the way how it would work,
10:51:32 20     unless validators/parties that will be hosting
10:51:45 21     the network agree, in their majority, to implement
10:52:05 22     proposed changes, be it changes proposed by the
10:52:18 23     hypothetical TON Foundation or any other organization
10:52:33 24     of that kind that may be established in the future by
10:52:46 25     third parties.
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10:57:07    1            Q.     And for that reason, Telegram has retained
10:57:09    2   flexibility in its offering documents for the private
10:57:13    3   placement to change its mind about the level of
10:57:16    4   involvement it might have with some of these issues;
10:57:18    5   is that correct?
10:57:30    6            A.     Generally speaking, Telegram reserved
10:57:39    7   a very large degree of flexibility described in the
10:57:48    8   offering materials, in the purchase agreement and
10:57:54    9   its appendices.      I believe that in certain parts of
10:58:22 10     the offering materials we make it clear for the
10:58:36 11     purchasers that the future of the TON Blockchain is --
10:58:52 12     would be in the hands of decentralized, open source
10:59:05 13     community.      I think this was almost a direct quote
10:59:19 14     from the primer, if I'm not mistaken.
10:59:21 15                     MR. TENREIRO:     It's "decentralized."
10:59:22 16                     MR. DRYLEWSKI:     I was going to check after
10:59:24 17     the answer was done.
10:59:25 18                     MR. TENREIRO:     Yeah.    I got it.
10:59:30 19                     THE WITNESS:     Thank you.
10:59:30 20                     MR. TENREIRO:     I'm sorry.     Were you
10:59:33 21     finished?     I apologize.
10:59:40 22                     THE WITNESS:     And based on that, I think
11:00:08 23     it was -- it is clear that the degree of Telegram's
11:00:24 24     involvement in developing and supporting TON
11:00:36 25     post-launch would be limited.
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11:10:46    1   BY MR. TENREIRO:
11:10:46    2             Q.      But let's, I think -- let's break --
11:10:48    3                     MR. DRYLEWSKI:      Telegram, the entity.
11:10:48    4                     MR. TENREIRO:     Yeah, let's break it up
11:10:51    5   because he might be struggling.
11:10:53    6                     THE WITNESS:     Sure.
11:10:53    7   BY MR. TENREIRO:
11:10:54    8             Q.      So let's try Telegram first.
11:10:56    9             A.      Okay.     So Telegram does not intend to hold
11:10:58 10     any Grams post launch.
11:11:02 11               Q.      So the unsold Grams will go to who?
11:11:17 12               A.      The unsold Grams, provided the network
11:11:30 13     is launched with unsold Grams, will be locked until
11:11:38 14     the creation of, the establishment of the
11:11:41 15     TON Foundation.           If the TON Foundation is never
11:11:51 16     established, those unsold Grams will be locked for
11:11:57 17     perpetuity.
11:11:58 18               Q.      And what's the percentage of the 5 billion
11:12:02 19     that those locked Grams would be?
11:12:08 20               A.      I think we had the --
11:12:13 21                       MR. DRYLEWSKI:      Let's go off the record
11:12:14 22     for one second if that's okay.
11:12:16 23                       MR. TENREIRO:     Okay.
11:12:16 24                       THE VIDEOGRAPHER:        We are going off the
11:12:18 25     record.        The time is 11:12.
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11:23:31    1   "28 percent of the initial supply of Grams would be
11:23:31    2   allocated to the TON Reserve to be used by the
11:23:33    3   TON Foundation as described [therein]"?
11:23:44    4            A.     I think this is an accurate reflection
11:24:05    5   of our plans --
11:24:06    6            Q.     Accurate and.
11:24:08    7            A.     ... reflection of our plans, yeah.
11:24:10    8            Q.     An accurate reflection, okay.
11:24:11    9                   Then if you go to page 29 where there is
11:24:18 10     Interrogatory No. 15 and a response also.             If you
11:24:21 11     could focus on the first paragraph first that
11:24:23 12     describes:
11:24:24 13                     "... Defendants currently contemplate that
11:24:25 14     approximately 10% of the initial supply of Grams will
11:24:29 15     be allocated for incentive payments to TON Blockchain
11:24:29 16     users... The Incentives Pool is expected to managed by
11:24:33 17     the TON Foundation."
11:24:34 18                     Oh, page 29.
11:24:36 19              A.     Yes, okay.
11:24:46 20              Q.     So is that statement accurate?
11:25:42 21              A.     It is accurate that we plan to distribute
11:26:00 22     approximately 10 percent in the initial supply of
11:26:03 23     Grams among the users of the TON Blockchain, subject
11:26:15 24     to certain conditions.         It is, however, worth noting
11:26:23 25     that in light of the uncertain status of the
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11:26:36    1   TON Foundation, one of the mechanics of distributing
11:26:59    2   those 10 percent of Grams that we have been discussing
11:27:14    3   is that in case the TON Foundation is not established
11:27:33    4   or, theoretically speaking, for some reasons could
11:27:54    5   never be established and we come to such a conclusion,
11:28:03    6   then we were discussing ways to distribute those
11:28:29    7   10 percent of the initial supply among the users
11:28:39    8   directly at launch so that if the incentive pool,
11:29:28    9   as a concept, is considered to be applicable as
11:30:23 10     a result of the ongoing analysis and continuing legal
11:30:29 11     processes, while the TON Foundation, for some reasons,
11:30:45 12     is not feasible as a concept, we could treat the
11:31:04 13     incentives pool separately from the TON Foundation and
11:31:18 14     could still try to find compliant ways to implement
11:31:39 15     the idea of distributing 10 percent among the users
11:31:50 16     in order to increase and promote the consumptive use
11:32:00 17     of the new currency.
11:32:06 18              Q.     Thank you.    I'm just trying to get an
11:32:09 19     answer to my question now, which is: What percentage
11:32:11 20     of Grams of the 5 billion is Telegram's employees
11:32:14 21     going to have upon the launch?          It's just a number.
11:32:17 22                     MR. DRYLEWSKI:     I think he just answered
11:32:18 23     that question.
11:32:19 24                     MR. TENREIRO:     I don't think so.
           25   ///
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11:32:20    1   BY MR. TENREIRO:
11:32:21    2             Q.     I just want a number.
11:32:37    3             A.     I can reconfirm that Telegram will not
11:32:39    4   hold any Grams post launch.          We mentioned in the
11:32:59    5   offering materials that we plan to distribute
11:33:06    6   4 percent of Grams, which should be around 200 million
11:33:20    7   Grams, I believe, among the development team, and
11:33:57    8   we are still evaluating, under the circumstances,
11:34:08    9   whether we would proceed with that initial plan of
11:34:19 10     distributing all or some of those 200 million Grams
11:34:40 11     among the developers that worked on TON.
11:34:50 12               Q.     So what percentage of the Grams were sold
11:34:53 13     in the private placement?
11:36:00 14               A.     In order to make sure I accurately answer
11:36:03 15     your question, may I look at the documents in my email
11:36:19 16     and ...
11:36:20 17                      MR. DRYLEWSKI:    What we can do, I think,
11:36:22 18     Jorge, this isn't meant to be a memory test, is we can
11:36:25 19     get the information for you, we can take a quick break
11:36:28 20     and he can answer the question because it's a knowable
11:36:31 21     answer; he just doesn't know the percentages right
11:36:33 22     now.   We're talking about a lot of different numbers.
11:36:35 23                      So does that work for you?
11:36:37 24                      MR. TENREIRO:    Sure.    Let's just get the
11:36:38 25     numbers and get an answer.         We've been at this for,
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11:44:25    1            Q.     Okay.     And the remaining 42 percent,
11:44:30    2   who currently, as we sit here today, will have the
11:44:34    3   authority to decide what to do and how to allocate the
11:44:38    4   remainder of the 42 percent?
11:45:06    5            A.     The creators of the network will be
11:45:09    6   responsible for the distribution mechanism at launch.
11:45:21    7            Q.     So the creators of the network, you mean
11:45:26    8   Telegram?
11:45:26    9            A.     Yes.
11:45:26 10              Q.     Okay.     And moving on to a separate topic
11:45:31 11     or, I guess, just moving on from this line of
11:45:33 12     questioning, I think yesterday we talked about whether
11:45:38 13     Telegram or its employees may take part in voting or
11:45:42 14     validation.      Do you recall generally we talked about
11:45:45 15     that a little bit?
11:45:45 16              A.     Yes.
11:45:46 17              Q.     And I think you said in your public notice
11:45:49 18     of the 6th, which I think was Monday, and if you want
11:45:53 19     to refer to it, it's Exhibit 38, but you said,
11:45:58 20     you know, Telegram and its employees --
11:46:00 21     I'm paraphrasing -- will not take part in voting or
11:46:02 22     validating in connection with the TON Blockchain.
11:46:05 23     This voluntary decision was made in order to avoid any
11:46:07 24     perception that Telegram or its employees can or will
11:46:10 25     exercise control over the TON Blockchain following its
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11:46:13    1   launch.
11:46:15    2                    Does that sound more or less like what you
11:46:18    3   said?
11:46:18    4             A.     Yes.
11:46:18    5             Q.     Okay.     Now, at some point, though, prior,
11:46:22    6   Telegram's employees were -- it was contemplated that
11:46:27    7   they could participate in validating up to a certain
11:46:31    8   percentage of Grams available; is that not correct?
11:46:43    9                    MR. DRYLEWSKI:      Sorry, could I have that
11:46:44 10     question read back.          I want to know if I need to
11:46:47 11     object.
11:47:01 12                      (Whereupon, the record was read back by
11:47:02 13                      the court reporter.)
11:47:02 14                      MR. DRYLEWSKI:      Okay.   I wanted to know if
11:47:04 15     you said "disclosed" or "contemplated."              I do not
11:47:08 16     object.
11:47:48 17                      THE WITNESS:     If I remember it right, when
11:48:10 18     we were drafting our plans in relation to the
11:48:12 19     distribution of Grams -- and those plans were drafted
11:48:20 20     in, I believe, 2017, or started to be drafted in
11:48:27 21     2017 -- we didn't specifically emphasize in those
11:48:52 22     plans that we would limit the holders of this
11:49:13 23     hypothetical 4 percent from participating in
11:49:22 24     validation.
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12:12:09    1                   "We were planning to provide you with the

12:12:11    2   same level of allocation we grant other tier-1 firms

12:12:15   3    such as                        , which is 15 [million]."

12:12:20   4                     Do you see that?

12:12:21   5              A.     Yes.

12:12:22   6              Q.    Can you tell me what you meant by "tier-1

12:12:26   7    firms"?

12:12:26   8                    MR. DRYLEWSKI:        And this is a question

12:12:28   9    to him in his personal capacity?

12:12:30 10                     MR. TENREIRO:        Yeah.

12:12:30 11                     MR. DRYLEWSKI:        Thank you.

12:12:44 12                     THE WITNESS:        I think it is common

12:12:46 13     knowledge that there are certain venture capital funds

12:12:56 14     in Silicon Valley and elsewhere that are universally

12:13:05 15     considered to have the best track record in the

12:13:29 16     industry, and such VCs, and in some cases individual

12:13:37 17     investors, are often referred to as "tier 1 funds,"

12:13:45 18     at least the firms.         At least that is how I use this

12:13:51 19     word.

12:13:52 20     BY MR. TENREIRO:

12:13:52 21             Q.      Okay.     And why       I think you mentioned

12:13:56 22     reputation a couple times.           Why does reputation -- why

12:14:01 23     was that a factor that Telegram considered in the

12:14:04 24     allocation decision?

12:14:24 25             A.      Reputation was very important if -- a very

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12:14:30    1   important factor for us when deciding which purchasers
12:14:43    2   should be admitted to participating in the private
12:14:51    3   placement, because when entering the purchase
12:15:00    4   agreements, investors were obliged by the agreement
12:15:20    5   to make representations, including representations
12:15:38    6   that confirmed that they're buying an interest in
12:15:57    7   Grams on their own behalf and not on behalf of some
12:16:07    8   other parties, and not with the view to reselling this
12:16:18    9   interest in Grams.       They would then have to reconfirm
12:16:35 10     those representations at the time when Grams would be
12:16:56 11     issued to them, and it was a clear condition that they
12:17:03 12     would have to reconfirm those representations in order
12:17:08 13     to receive Grams at launch.
12:17:22 14                     It was important that we have reputable
12:17:28 15     investors, to the extent it is possible, and other
12:17:51 16     considerations that we have most confidence in the
12:18:09 17     fact that the people making these representations
12:18:28 18     can be trusted and those representations can be relied
12:18:30 19     on.
12:18:31 20              Q.     Is there any other reason why their
12:18:35 21     reputation matter, other than the reasons you just
12:18:38 22     mentioned, or was that it?
12:18:56 23              A.     Well, having well-known, reputable firms
12:19:06 24     as parties in the purchase agreements could also allow
12:19:17 25     to decrease complexity in terms of necessary
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12:19:40    1   processes, such as obtaining KYC source-of-wealth
12:19:51    2   information for these purchasers.
12:19:55    3            Q.     And why does a VC, a venture capitalist
12:20:00    4   firm's, track record matter?          Why is that a factor?
12:20:11    5            A.     VCs with track record, in our view, could
12:21:16    6   be trusted and would, with a high degree of
12:21:30    7   probability, be able to better understand the nature
12:21:39    8   of the project that we were undertaking.
12:21:50    9            Q.     Other than I think you mentioned
12:21:54 10     reputation, track record, brand name, experience in
12:21:58 11     this space, were there other factors -- and you said
12:22:02 12     those were the -- I'm just trying to make sure
12:22:05 13     I understood.
12:22:05 14                     You said those were the factors, also
12:22:07 15     potentially personal relationships that you might have
12:22:09 16     had.   Any other factors that I am missing that
12:22:14 17     Telegram considered in deciding the allocations in the
12:22:22 18     pre-sale round?
12:22:30 19              A.     I believe there could be certain other
12:22:33 20     factors which include the fact that those purchasers
12:22:50 21     were only admitted to the allocation if -- to the
12:22:54 22     purchase -- private placement if they were
12:22:58 23     sophisticated, accredited investors, and high
12:23:11 24     net-worth individuals.        Another factor I could think
12:23:17 25     of, for example, is if, after meeting or speaking or
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12:23:36    1   communicating in another way with a potential
12:23:40    2   purchaser, we were not able to get confident that the
12:24:04    3   purchaser, potential purchaser clearly understands the
12:24:15    4   nature of our project and its limitations, including
12:24:19    5   some of the limitations later reflected in the
12:24:33    6   purchase agreement and the appendices to the primer,
12:24:37    7   we would, with a higher degree of probability, decline
12:24:54    8   to admit such a potential purchaser to the private
12:24:59    9   placement.
12:25:00 10                     Another example could be when we would,
12:25:26 11     during the process of defining the allocation, receive
12:25:38 12     certain rumors from the market that would indicate
12:25:41 13     that this potential purchaser did not fully understand
12:25:52 14     the nature of what we were doing or the limitations
12:25:59 15     imposed for the purchase agreement, we would, with
12:26:08 16     a very high degree of probability, cancel the
12:26:16 17     allocation of such a potential purchaser or, if this
12:26:24 18     allocation hadn't even been considered prior to that,
12:26:39 19     we would not pursue this opportunity related to such
12:27:18 20     purchaser in any way.
12:27:34 21              Q.     And in terms of ensuring that these
12:27:36 22     initial purchasers were not buying the Grams to resell
12:27:40 23     them, why not just lock up the Grams, all the Grams
12:27:46 24     from being resold?
12:27:47 25                     MR. DRYLEWSKI:     Objection; form.
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12:31:52    1   restricting the ability of those Grams to be
12:31:56    2   transferred for resale as opposed to be transferred
12:32:00    3   for validation or use in applications or some other
12:32:06    4   use with respect to the blockchain?
12:32:08    5                   Let me strike this and just lay
12:32:10    6   a foundation.
12:32:11    7                   You're familiar that in blockchain
12:32:14    8   technology, are you not, that you can restrict the
12:32:16    9   transfer of tokens on blockchains for certain --
12:32:19 10     within certain parameters?          Are you familiar with that
12:32:21 11     generally?
12:32:29 12              A.     I understand that developers of some
12:32:34 13     blockchain projects may seek to do so.
12:32:36 14              Q.     Okay.     So why didn't Telegram seek -- why
12:32:40 15     isn't Telegram seeking to do so, to restrict the
12:32:43 16     ability of the initial purchasers in Stage A to
12:32:47 17     transfer the Grams, except for certain uses only?
12:33:11 18              A.     Grams were designed to be a mass-market
12:33:20 19     currency, used for consumptive purposes.             We were
12:33:35 20     hoping to build upon the ideas of older, decentralized
12:33:45 21     networks such as Bitcoin and Ethereum, and
12:33:54 22     significantly improve their speed, scaleability and
12:34:02 23     ease of use, so that consumers that are currently
12:34:14 24     struggling with limitations existing in these older
12:34:24 25     networks that I just mentioned would be able to enjoy
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12:34:41    1   a more efficient service and achieve their goals in
12:34:51    2   a more efficient and user-friendly way so that,
12:34:59    3   as a result, the resulting cryptocurrency will --
12:35:07    4   the resulting cryptocurrency could achieve wider
12:35:17    5   adoption and be used in commerce and all sorts of
12:35:39    6   applications for a wide range of purposes.
12:36:06    7                   We thought that given these
12:36:27    8   considerations, it was necessary to make sure that
12:36:44    9   consumers can interact with this new currency in the
12:36:56 10     similar way they interact with less efficient and
12:37:15 11     older blockchain networks.         We believe that to achieve
12:37:30 12     these goals, it would not be beneficial to impose
12:37:48 13     limitations on the participants in the ecosystem that
12:37:59 14     are absent in other similar networks such as Bitcoin
12:38:09 15     and Ethereum.
12:38:10 16              Q.     So my question was not about imposing
12:38:13 17     limitations on the participants in the ecosystem but
12:38:15 18     simply limitations on the ability of the initial
12:38:18 19     purchasers to transfer their Grams for sale as opposed
12:38:21 20     to giving them to mass markets for adoption for the
12:38:25 21     purposes you just described.
12:38:48 22              A.     As I just mentioned, it was critical
12:39:04 23     to achieve a wide adoption for this new cryptocurrency
12:39:12 24     in order for it to have the utility and consumptive
12:39:27 25     use for consumers.       Based on that, it was beneficial
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12:44:56    1   BY MR. TENREIRO:
12:44:56    2            Q.     Maybe I should ask it this way: Is there
12:45:01    3   a belief -- was there a belief, when this
12:45:04    4   interrogatory answer was submitted, that Grams
12:45:07    5   would be worth $3 to $7 at some point?
12:45:10    6                   MR. DRYLEWSKI:      Objection to form.
12:45:12    7                   Grams worth 3 to 7 -- I guess, what do you
12:45:16    8   mean Grams that would be worth that?            In the
12:45:17    9   aggregate?      All Grams?     A Gram?
12:45:17 10     BY MR. TENREIRO:
12:45:19 11              Q.     You wrote the answer; so what did you mean
12:45:22 12     there, "Grams worth approximately 3 to 7" --
12:45:26 13                     MR. DRYLEWSKI:      Okay, that's a different
12:45:27 14     question.     Okay.
12:45:28 15                     THE WITNESS:     I think, to avoid confusion,
12:45:31 16     it is important to point out that it is not implied
12:45:34 17     here that one Gram will be worth $3 to $7.
12:45:41 18     BY MR. TENREIRO:
12:45:42 19              Q.     Okay.
12:46:07 20              A.     What is implied here is that after the
12:46:09 21     successful launch of the network as it is currently
12:46:19 22     contemplated, there will be a certain market price of
12:46:26 23     Grams formed by market forces.
12:46:45 24              Q.     So it's whatever the price -- so if the
12:46:48 25     price, by market forces, is, I don't know, $20, then
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12:50:45    1   Was the potential amount that you allocated to each
12:50:49    2   investor related to, you know, their ability to have
12:50:58    3   considerable disk space, computing power, network
12:51:02    4   bandwidth, as well as a continual commitment to
12:51:06    5   100 percent uptime?
12:51:08    6                   MR. DRYLEWSKI:     Objection; form.
12:51:44    7                   THE WITNESS:     As you know, we only
12:51:48    8   admitted high net-worth individuals and established
12:52:02    9   funds in private placement, and it was an inevitable
12:52:32 10     consequence of this that such individuals or funds
12:52:41 11     would be able to rent -- to afford to pay for the
12:53:07 12     computing power necessary in the validation process,
12:53:14 13     because, in my understanding, the cost of renting or
12:53:38 14     acquiring equipment for validation, although
12:53:43 15     considerable for an average person, can be regarded
12:53:52 16     as negligible compared to the amounts of funds
12:53:57 17     invested by each of the purchasers.
12:54:03 18     BY MR. TENREIRO:
12:54:03 19              Q.     And the average person, if the
12:54:06 20     TON Blockchain launches, will be able to buy Grams
12:54:09 21     in any quantity, even in fractional quantities, right?
12:54:17 22                     MR. DRYLEWSKI:     Objection; form.
12:54:22 23                     THE WITNESS:     This is dependent on several
12:54:25 24     factors but this is the plan.
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13:44:13    1   would be used as a number required for the network
13:44:34    2   to function, unlike in some maybe other competing
13:44:41    3   blockchain projects; so there was no way to
13:44:49    4   definitively answer that question.
13:44:53    5                   MR. TENREIRO:     Okay.    Just a couple more
13:44:55    6   questions and then we can -- just to finish this
13:44:57    7   topic, if you don't mind?
13:44:59    8                   MR. DRYLEWSKI:     Sure.
13:44:59    9   BY MR. TENREIRO:
13:45:00 10              Q.     I think you mentioned at some point today,
13:45:02 11     but correct me, has Telegram completed all of the
13:45:05 12     tests on the TON Blockchain for the TON Blockchain?
13:45:09 13                     MR. DRYLEWSKI:     Objection; form.
13:45:35 14                     THE WITNESS:     As I previously indicated,
13:45:39 15     by October 2019 we concluded the vigorous testing of
13:46:01 16     the core components of the TON Blockchain that
13:46:16 17     we considered necessary for the project to be able to
13:46:31 18     be launched as a decentralized network.             At the same
13:46:59 19     time, we, given the change of the deadline date for
13:47:08 20     this project, are using this additional time to work
13:47:33 21     on a few nice-to-have features.            In addition, we keep
13:48:07 22     reviewing the feedback from the open-source community
13:48:21 23     security researchers that we previously incentivized
13:48:34 24     to help us with the testing process.
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14:50:09    1             Q.      Can you tell me who these individuals or
14:50:12    2   entities are, these open-source community security
14:50:18    3   researchers that you had previously incentivized?
14:50:29    4             A.      I think that in September last year
14:50:35    5   we launched a contest for smart contract engineers and
14:50:54    6   security researchers that promised a price fund of
14:51:08    7   up to $400,000 to be distributed among the winners in
14:51:24    8   this competition.        As a result, we had a lot of people
14:51:48    9   from the industry looking at the code of the
14:51:53 10     TON Blockchain, testing how the TON Blockchain and
14:52:07 11     its virtual machine work, and seeing whether they
14:52:14 12     could find any security issues with the project.
14:52:26 13               Q.      And these people are still doing some of
14:52:28 14     that work is what you're saying?
14:52:31 15                       MR. DRYLEWSKI:     Objection; form.
14:52:42 16                       THE WITNESS:     The prize budget that we
14:52:52 17     intended to be distributed among security researchers
14:53:04 18     which would be able to alert us to critical issues
14:53:19 19     that they may find in the code of the TON Blockchain
14:53:34 20     is still there and we have indicated publicly that
14:53:43 21     we continue accepting and rewarding individuals that
14:53:51 22     could help us test the network in the way I just
14:54:10 23     described.
14:54:11 24                       MR. TENREIRO:     Let's look at Exhibit 73,
14:54:14 25     please.        We just marked it.    It's 17-332.
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17:12:47    1   from other sources publicly available for anybody.
17:12:58    2            Q.     And a moment or two ago you mentioned that
17:13:01    3   in October, Telegram disclosed certain financial
17:13:06    4   information.      Was that information emailed directly
17:13:10    5   to the private placement purchasers, or how was it
17:13:17    6   disclosed to them?
17:13:21    7            A.     Yes, I believe it was part of the update
17:13:24    8   we sent to all of the purchasers by email.
17:13:27    9            Q.     And is there is any current plan in place
17:13:33 10     by Telegram in terms of what sort of financial
17:13:37 11     information about itself it might disclose after the
17:13:41 12     launch of the TON Blockchain?
17:14:01 13              A.     In our view, Telegram's obligations under
17:14:09 14     the purchase agreement, for the most part, will be met
17:14:32 15     at the time of launch, meaning that after the launch
17:14:36 16     of the TON Blockchain, Telegram will no longer be
17:14:39 17     actively developing TON and, as such, it is not
17:15:08 18     obvious why purchasers who have received Grams in the
17:15:14 19     event of a successful launch of the TON Blockchain
17:15:23 20     would need any information --
17:15:23 21              Q.     So -- I'm sorry.
17:15:34 22              A.     -- from Telegram Messenger other than the
17:15:41 23     information that will be already available from public
17:15:45 24     sources.
17:15:46 25              Q.     Sorry.   So my question was not about plans
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